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July 15, 2024

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Re:       Vasell v. SeatGeek, Inc., Case No. 1:24-cv-00932-NCM-JRC

Dear Counsel:

On behalf of Defendant SeatGeek, Inc. (“SeatGeek”) in the above-referenced action, please find
the following documents included with this correspondence:

      •   SeatGeek’s Notice of Motion to Compel Arbitration, or, alternatively, to Dismiss
          Plaintiffs’ Amended Class Action Complaint;

      •   Memorandum of Law in Support of the Motion to Compel Arbitration, or, alternatively, to
          Dismiss Plaintiffs’ Amended Class Action Complaint;

      •   Declaration of Paula Giuliani in Support of SeatGeek’s Motion to Compel Arbitration, or,
          alternatively, to Dismiss Plaintiffs’ Amended Class Action Complaint and Exhibits.

      •   Declaration of Aarti Reddy in Support of SeatGeek’s Motion to Compel Arbitration, or,
          alternatively, to Dismiss Plaintiffs’ Amended Class Action Complaint.


Respectfully submitted,

/s/ Christopher M. Andrews
Christopher M. Andrews




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